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           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                    PINE BLUFF DIVISION

ROBERT WOODWARD                                              PLAINTIFF
#0452670

v.                       No. 5:19-cv-258-DPM
WENDY KELLEY, Director, ADC;
JAMES GIBSON, Warden;
DEXTER PAYNE, Deputy
Director, ADC; MAPLES,
Lieutenant; and JIM DePRIEST,
Assistant Director, ADC                                  DEFENDANTS


                               ORDER
     On de nova review, the Court adopts Magistrate Judge Ray's
recommendation, Doc. 21, and overrules Woodward's objections,
Doc. 23. FED. R. CIV. P. 72(b)(3). Woodward's individual capacity
claims against Kelley, Gibson, and DePriest are barred and will be
dismissed with prejudice.     Woodward's individual capacity claims
against Payne and Maples will be dismissed without prejudice for
failure to state a claim. And his official capacity claims against all
Defendants will be dismissed with prejudice. The Court certifies that
an in forma pauperis appeal from this Order and accompanying
Judgment would not be taken in good faith. 28 U.S.C. § 1915(a)(3).
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So Ordered.


                            D.P. M a r ~.
                            United States District Judge




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